Case 2:19-cr-00120-MEF Document 614 Filed 01/25/24 Page 1 of 3 PageID: 29971




                                              U.S. Department of Justice
                                              United States Attorney
                                              District of New Jersey

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                                              Newark, New Jersey 07102

                                              January 25, 2024

Honorable Michael E. Farbiarz
United States District Judge
U.S. Post Office & Federal Courthouse
Newark, New Jersey 07102

             Re:    United States v. Gordon Coburn and Steven Schwartz
                    Crim. No. 19-120 (MEF)

Dear Judge Farbiarz:

      The parties jointly submit this letter to update the Court on the status of
potential stipulations relating to Defendants’ motions in limine and to advise the
Court of those motions that are ripe for decision.

       With respect to the Government’s Motions in Limine No. 1 and 3, and
supplemental motion in limine, see ECF No. 501 at 5-9, 12-14; ECF No. 580
(collectively, the “Government Business Records Motions”), the parties have made
substantial progress but need additional time to obtain certifications from
Cognizant and finalize contemplated stipulations. We therefore respectfully request
an additional two weeks to advise the Court on the status of these motions.

       In an attempt to resolve the remaining issues concerning Defendants’
compensation (Mr. Coburn’s Motion in Limine No. 4), Defendants proposed to
stipulate to the components of their compensation in percentage terms to avoid
what they argue is the unfair prejudice of disclosing the actual dollar values of their
compensation to the jury. The Government did not agree to this stipulation for the
reasons discussed in its motion papers. The Government and Mr. Coburn have been
able to reach a stipulation as to Mr. Coburn’s Motion in Limine No. 5 regarding his
decision not to sit for a second interview. The Government and Mr. Schwartz were
not able to reach a stipulation concerning this motion in limine. In addition, Mr.
Schwartz proposed a stipulation to moot part of his Motion in Limine No. 1
concerning medical records. The parties have not been able to reach a stipulation
on that issue.

      Accordingly, the following motions are ripe for the Court’s decision:
Case 2:19-cr-00120-MEF Document 614 Filed 01/25/24 Page 2 of 3 PageID: 29972




        Mr. Coburn’s Motions in Limine:

            o Motion in Limine No. 4, insofar as it seeks to exclude evidence of
              Mr. Coburn’s compensation while employed at Cognizant.
            o Motion in Limine No. 5, insofar as it seeks to exclude evidence
              concerning Mr. Schwartz’s decision not to sit for interviews.
            o Motion in Limine No. 7, seeking to exclude certain of Mr.
              Schwartz’s alleged prior statements concerning Mr. Coburn.
            o Motion in Limine No. 8, seeking to exclude certain of Mr.
              Schwartz’s alleged actions and statements made during Cognizant’s
              investigation.
            o Motion for severance in the event that evidence and testimony
              concerning Mr. Schwartz’s purported notes and Mr. Schwartz’s
              alleged statements and actions during Cognizant’s investigation are
              not excluded from trial.
            o Motion in Limine No. 11, seeking to exclude certain emails that are
              not business records and are otherwise inadmissible.
            o Motion in Limine No. 12, seeking to exclude certain chat messages
              that are not business records and are otherwise inadmissible.
            o Motion in Limine No. 13, seeking to exclude an email inaccurately
              suggesting that an Indian government official was arrested in
              connection with the allegations concerning the KITS facility.
            o Motion in Limine No. 14, seeking to exclude portions of Cognizant’s
              FCPA policy, an internal presentation concerning Cognizant’s
              FCPA policy, Cognizant’s Core Values and Standards of Business
              Conduct policy, and Mr. Coburn’s certifications committing to the
              Core Values policy.

        Mr. Schwartz’s Motions in Limine:

            o Motion in Limine No. 1, insofar as it seeks to exclude evidence
              related to Mr. Schwartz’s eye surgery.
            o Motion in Limine No. 4, seeking to admit as a party-opponent
              admission the Government’s statement that neither Defendants,
              their co-conspirators, nor the Government itself knows key details
              of the bribe conspiracy.

        Government’s Motions in Limine:

            o Motion in Limine No. 5, seeking to admit evidence of the payment
              and reimbursement of a bribe demand at Cognizant’s Pune campus.
            o Motion in Limine No. 6, seeking to preclude Defendants from
              arguing or eliciting evidence concerning their alleged prior good
              acts.

                                        2
Case 2:19-cr-00120-MEF Document 614 Filed 01/25/24 Page 3 of 3 PageID: 29973




            o Motion in Limine No. 8, seeking to preclude Defendants from
              arguing or eliciting evidence concerning their families,
              backgrounds, health, ages, or any other personal factor unconnected
              to guilt or innocence, as well as discussion of punishment.
            o Motion in Limine No. 9, seeking to preclude Defendants from
              making arguments regarding jury nullification on the grounds that
              bribes are custom and practice in India.
            o Motion in Limine No. 10 to exclude and/or limit the testimony of
              Defendants’ expert witnesses.

      The parties have also not been able to reach an agreement as to the issue
addressed in Mr. Schwartz’s December 5, 2023 letter (concerning documents
provided to Indian authorities by Srimanikandan Ramamoorthy and/or the United
States government) and the Government’s December 16, 2023 response, and the
parties seek the Court’s resolution of that issue.

      We respectfully submit that the Court should await a response from India
concerning the recently submitted MLAT request before ruling on Mr. Coburn’s
Motion in Limine No. 9, seeking to admit exculpatory statements memorialized in
FBI-302s of government interviews of overseas witnesses who are unavailable to
Defendants, and on Mr. Schwartz’s Motion in Limine No. 3, seeking to admit
statements made by L&T to the National Stock Exchange of India.



Respectfully submitted,

GLENN S. LEON                               PHILIP R. SELLINGER
Chief                                       United States Attorney

/s/ Sonali D. Patel                         /s/ Jonathan Fayer
/s/ Gerald M. Moody, Jr.
________________________________            __________________________
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